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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

TERRI SLAUGHTER-CABBELL,
LANA HOOKS, & CHINELA N.
JOHNSON, individually and on
behalf of others similarly situated,
                              Plaintiffs,        1:11-cv-00202-WSD
                                                 1:11-cv-4311-WSD
       v.
RYLA TELESERVICES, INC.,
                            Defendant.


                   ORDER FOR SETTLEMENT APPROVAL


   On December 17, 2012, a hearing was held on the Parties’ Joint Motion for

Approval of their FLSA settlement. Having considered the Parties’ Joint Motion

for Approval of FLSA Settlement, the supporting Memorandum of Law,

declaration and exhibits, and the arguments of counsel, the Court issues the

following Order:

   1. The Parties’ Joint Motion for Approval of their FLSA Settlement is

      GRANTED. The terms of settlement are fair, reasonable, and resolve a bona

      fide dispute between the Parties with respect to liability and damages.
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2. Settlement Class Members Iris Edmond, Ashley Hill, and Aiyana Thompson

  excluded themselves from the settlement. Their claims are DISMISSED

  WITHOUT PREJUDICE and the statute of limitations on their claims is

  hereby tolled for (30) thirty days.

3. The claims of Named Plaintiffs Terri Slaughter-Cabbell, Lana Hooks, and

  Chinela N. Johnson, and the Opt-in Plaintiffs are hereby DISMISSED

  WITH PREJUDICE, without fees, costs, or disbursements to any party,

  except as provided in the Court’s Order on Plaintiffs’ Unopposed Motion for

  Attorneys’ Fees and Litigation Expenses.



  SO ORDERED this 3rd day of January, 2013.



                             _________________________________________
                             WILLIAM S. DUFFEY, JR.
                             UNITED STATES DISTRICT JUDGE




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